Pro Se 15 (Rev. 12/16} Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT FILED
for the ASHEVILLE, NAG,
Wester District of North Carolina |¥ FEB 20 2076
Asheville Division U.S. DISTRICT COURT
W. DIST, OF N.C.

BRO. T. HESED-EL
Case No. CV 119-285

(to be filled in by the Clerk's Office)

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
Hf the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list af names.)

~V=
JOHN DOE, et al.,

Jury Trial: (check one) [V] Yes L_]No

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fil in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names, Do not include addresses here.}

AMENDED
COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nef contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 15 (Rey, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner}

L The Parties to This Complaint

A, The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed,
Name BRO. T. HESED-EL
Address clo TAQI EL AGABEY MANAGEMENT 30 N. Gould Street, Ste R
Sheridan WY 82801
City State Zip Code
County Sheridan
Telephone Number 762-333-2075
E-Mail Address teamwork3@gmail.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name JOHN DOE
Job or Title (if known)
Address
Asheville NC 28801
City State Zip Code
County Buncombe County
Telephone Number

E-Mail Address (if known)

Individual capacity | | Official capacity

Defendant No. 2

Name Rabin Bryson
Job or Title (if known) Licensed Clinical Social Worker
Address 428 Biltmore Ave
Asheville NC 28801
City State Zip Code
County Buncombe
Telephone Number
E-Mail Address (ifsnown)

[ Individual capacity Official capacity

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Defendant No. 3

Nate Mission Hospital, Inc.
Job or Title (if known)
Address 509 Biltmore Ave
Asheville NG 28801
City State Zip Code
County Buncombe
Telephone Number
E-Mail Address (if known)

[J Individual capacity Official capacity

Defendant No. 4

Name County of Buncombe
Job or Title (if known)
Address 200 College Street, Ste 300
Asheville NC 28801
City State Zip Code
County Buncombe
Telephone Number

E-Mail Address (f known)

[| Individual capacity Official capacity
il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]}.” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A, Are you bringing suit against (check all that apply):
[ | Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and {federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

See attached for violation of 1st Amendment, 4th Amendment, and 14th Amendment and related tort
clairns under state law.

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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W.

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. [f you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Plaintiff's right to liberty is a clearly established right. The defendants knowingly violated Plaintiffs right
to jiberty without probable cause as Plaintiff did not meet the criteria for an IVC. See attachment in
relation to stari decis, O'Connor v. Donaldson, 422 U.S. 563 (1975).

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one clatm is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

Where did the events giving rise to your claim(s) occur?
Biltmore Estate and Mission Hospital

See attached.

What date and approximate time did the events giving rise to your claim(s) occur?
09/20/2016 @ 1pm thru 10/05/2016 @ 3pm

See attached.

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

Plaintiff was not mentaily ill. Plaintiff was not dangerous to self. Plaintiff was not dangerous to others.
The defendants willfully violated required protocol and violated Plaintiffs clearly established rights in
seeking to have Plaintiff treated under the most restrictive means available.

See attached.

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IV. — Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Plaintiff suffered permanent physical injuries. Piaintiff also suffered extensive emotional distress and harm.

See attached

V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Plaintiff demands montary compensation and complete expungement of records of IVC proceedings.

See attached

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause 2
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case,

Date of signing: 02/18/2020

Printed Name of Plainti BRO. T. HESED-EL

Signature of Plaintiff aa

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State —~=«Wip Code
Telephone Number
E-mail Address

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age 6 o

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

BRO. T. HESED-EL, )
)

Plaintiff, ) Civil Action No. CV 119-285
V. )
)
JOHN DOE, et al., )
)
Defendants. )

COMPLAINT ATTACHMENT

Divine Laws of the Holy Koran of Mecca
American-Islamic Jurisprudence
Memorandum of Law

Allah does not like the public mention of evil except by one to whom injustice has been
done; And ever is Allah Hearing and Knowing. Surah 4:/4//

COMES NOW, Plaintiff pro se Br. T. Hesed-El (“Plaintiff”), in good faith, without the benefit
of a licensed attorney pursuant to Haines v. Kerner, 404 U.S. 519 (1972), to redress the misconduct
of John Doe (“JD”), Robin Bryson (“RB”), Mission Hospital, Inc. (“MHI”), Hospital Does 1-10
(“HD”), and County of Buncombe (“BC”), collectively (“Defendants”). Plaintiff seeks recovery

of damages and demands a jury trial of his national peers. Plaintiff respectfully shows as follows:

I. INTRODUCTION

What is it about mankind that drives it to put people in boxes?
https://www.youtube.com/watch?v=ijD&8&thVOlTc&feature=youtu.be

This §1983 action arises out of BC’s malicious and corrupt misuse of the IVC process to
unlawfully deprive Plaintiff of his liberty. Here, Plaintiff was detained in MHI’s unsafe
environment for 16 days based on RB’s false affidavit. In her IVC petition, RB falsely swore that
she had first-hand knowledge that Plaintiff was suffering from a mental illness. Mental illness
means “an illness which so lessens the capacity of the individual to use self-control, judgment, and
discretion in the conduct of his affairs and social relations as to make it necessary or advisable for

him to be under treatment, care, supervision, guidance, or control." N.C. Gen. Stat. § 122C-3(21).

As will be shown through the framework of this complaint, insha’ Allah, RB’s opinion was not
based on any facts or accepted medical standards for imminent dangerousness; but instead, her

opinion was solely based on her religious bias. “Preoccupation with religion is insufficient to

suppor fing of pia gs esata of, Tes JOSE 2 BAS SA NSGcCt ABR, 2010),

Thus, Plaintiff should not have been subjected to forced medications; mental health examinations;
an assault/battery by another patient; and a 16" day release without a 10-day court hearing.

As will be shown through the framework of this complaint, insha’ Allah, Plaintiff was “denied
his right to a hearing before the district court within ten days of confinement [N.C. Gen. Stat. §
122C-268(a)]... The statute indicates a conscious legislative decision to place the burden on the
State to come forward with evidence to justify the commitment within 10 days... taking a person
without the intervention of any court proceeding is a drastic procedure.” In re Jacobs, 38 N.C. App.
573, (N.C. Ct, App. 1978). As a result of Defendants’ willful misconduct, Plaintiff suffered bodily

harm, mental anguish and emotional harm.

II. NOTICE TO THE FACTFINDER

TAKE NOTICE that this complaint is not about the false and contradictory findings that MHI’s
staff wrote in the first examination, psychiatric notes, interviews, and second examination. This
action is about their reckless disregard of required IVC protocol and Plaintiff’s rights, interests,
and safety. TAKE NOTICE that no commitment hearing was ever held in this matter and Plaintiff
is not challenging a state-court decision. The Rooker-Feldman doctrine is inapplicable to this case.

TAKE NOTICE that while in MHI’s custody, the legal injuries of MHI’s violations were not
teadily apparent. While in MHI’s custody, Plaintiff was not served with any notice of a pending
commitment hearing in the state district court, MHI did not provide Plaintiff with sufficient
information about the IVC procedures so that he could make any informed decisions; Plaintiff was
deprived of his choice of counsel to represent him; and Plaintiff was not informed of his right to
counsel in the matter. The IVC records were sealed by BC’s Special Proceedings division.

TAKE NOTICE that after Plaintiff was released from MHI’s custody, Plaintiff suffered from
severe emotional distress caused by MHi’s unnecessary treatments. It took Plaintiff a significant
amount of time to recuperate from the trauma caused by the assault and MHI’s forced medication.

TAKE NOTICE that, at all times relevant hereto, no commitment order was ever issued in this
matter. TAKE NOTICE that Plaintiff was exercising his rights and practicing his religion in a way
that posed no threat of harm or danger to himself or others. BC/MHI and their representatives were
rendering assistance during a non-emergency, and based on their opinions that Plaintiff’s sincerely
held religious beliefs and caution against overreaching governments is “grandiose”, “delusional”,

and “paranoid”, Plaintiff was held against his will at MHI for 16 days in violation of law.

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The critical question now before the Court is whether RB was acting as an agent of the State
in swearing out the [VC petition to have Plaintiff involuntarily committed, and in doing so, whether

the State sought the least restrictive means of achieving a compelling or overriding state interest.

HE JURISDICTION & VENUE
1.

Piaintiff Bro. T. Hesed-El is a Moorish-American Moslem governed under the divine Laws

of the Holy Koran of Mecca, Love, Truth, Peace, Freedom and Justice. Plaintiff, a natural person,
is A CITIZEN OF THE U.S.A. According to 28 U.S.C. §§ 1331, 1332, 1343 and 1367, Plaintiff
brings this action to vindicate his rights secured by the 1%, 4" and 14" amendments. Plaintiff is not
a citizen of the State of North Carolina and is not subject to its jurisdiction.

2.

Defendant John Doe, upon information and belief, is subject to the jurisdiction and venue of
the Court. Defendant JD is the individual MHI patient who assaulted Plaintiff while in the care
and custody of Mission Hospital, Inc. JD is believed to be a citizen of North Carolina. JD’s address
is not known at this time. Plaintiff reserves his right to amend this complaint after discovery.

3.

Defendant Robin Bryson, upon information and belief, is subject to the jurisdiction and venue
of the Court. Defendant RB is a Licensed Clinical Social Worker under contract with the State of
North Carolina. RB is also an employee of Mission Hospital, Inc. RB earned money through her
job at MHI by cooperating with the state to provide medical care to Plaintiff as alleged in this
complaint. RB is a citizen of the State of North Carolina and can be served with court process at
her current address: 428 Biltmore Avenue, Asheville, NC 28801,

4.

Defendant Mission Hospital, Inc., upon information and belief, ts subject to the jurisdiction
and venue of the Court. Defendant MHI is Christian-based hospital organized as a non-profit
corporation under the laws of the State of North Carolina. MHI’s principal place of business is
located at 509 Biltmore Ave, Asheville, NC 28801. MHI may be served with process through its
agent, Corporation Service Company, at 2626 Glenwood Ave, Suite 550, Raleigh, NC 27608.

5.
Defendant County of Buncombe, upon information and belief, is subject to the jurisdiction

and venue of the Court. Defendant BC is a political subdivision of the State of North Carolina. BC

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is located at 200 College Street, Asheville, NC 28801. BC may be served with process through its
County Manager, Avril Pender, at 200 College Street, Suite 300, Asheville, NC 28801.

IV. PROCEDURAL BACKGROUND - Seetion A.

Pursuant to FRCP Rule 10(c), Plaintiff incorporates by reference the attached Affidavit in
Support, as if fully stated in this paragraph, to explain the procedural background of this action.

FACTS ABOUT PLAINTIFF’S HEALTH AND PROFESSION - Section B.
6.
Under Georgia law, “natural persons are categorized, according to their rights and status.”
0.C.G.A. § 1-2-2. Plaintiff retains all his inherent rights. Plaintiff has not waived any of his rights.
7.

Plaintiff was born outside the city limits of Augusta, in the State of Georgia, 1985. Plaintiff
has two siblings. Some of the great fathers through which Plaintiff came are: Abraham, Boaz by
Ruth, Jesse, King David, Solomon, Hezekiah, and Joseph by Mary. Plaintiff is a descendant of the
ancient Moabites who first inhabited this land. In the Great Law of Peace of the Iroquois
Confederation, Plaintiff's ancestors are referred to as the Onkwehonwe, or original beings.

From the time Plaintiff was born in 1985 to present, he has not ever been committed by
court order to a mental institution or deemed dangerous to himself or others by a competent
medical professional, Plaintiff has no history of mental illness nor any record of violent or suicidal
behavior. Plaintiff works full time as a civil rights coordinator for a non-profit organization.
Plaintiff, a full-time MBA student at the Maharishi International University, usually prays 5x times
a day, and practices the transcendental meditation technique.

Plaintiff is not a substance abuser — any statements to the contrary are false. Plaintiff is not
suicidal and has no record of suicidal tendencies. Plaintiff has not attempted to kill himself or
threatened to kill himself, In the relevant past, Plaintiff has not threatened to harm any living being.
Plaintiff even tries to avoid killing insects. In Plaintiff’s society, it is common to abstain from all
vaccinations (needles), allopathic medicines, GMOs, and artificial foods that may harm the body.
Piaintiff has maintained overall good health and behavior his entire life by abstaining from the

destructive ideals and practices of the pale-skin nations of Europe and blacks. Alhamdullilah.

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FACTS ABOUT PLAINTIFF’S SINCERELY HELD RELIGIOUS BELIEFS - Section C.
8.

Plaintiff’s late father was a Bishop. Plaintiff’s mother is a former senior pastor. Together,
Plaintiff's parents founded the Cathedral of the Holy Spirit at Living Word Christian in Augusta,
Georgia during the late 1970’s. As such, Plaintiff was raised with an in-depth knowledge of the
Judeo-Christian faith.

From around January 2013 to December 2014, Plaintiff worked in Asheville, NC. During
that time, Plaintiff frequently attended live music events, ate good food, attended consciousness-
music festivals, and enjoyed other camping excursions around the Blue Ridge Mountains. As part
of his awakening, Plaintiff's mind began to return fo its original state of purity, similar to that of
Adam and Eve before they ate of the Tree of Knowledge of Good and Evil. “And they were both
naked, the man and his wife, and were not ashamed.” Helios Biblios, Genesis 2:25.

During Gratifly, a consciousness-festival that Plaintiff attended around that time, Plaintiff
was reminded of his ancestors’ mindset which existed prior to our exile from the Garden of Eden.
At that festival, both men and women roamed around the lush environment of Lake Hartwell in
the nude, No one seemed to be ashamed. People of diverse ages and ethnicities were in attendance.

Further, even when the county sheriff’s department approached our camping grounds on
its boat to observe our 1 Amendment expressions at the festival, they made no arrests and
bothered no one. They simply showed their presence, then turned their boat around and returned
to the place from whence they came. That experience served as a perpetual reminder that there
really is no problem with being naked on a private estate.

During Gratifly, Plaintiff camped out in front of the river next to a neighboring couple who
had a young baby. On some days, Plaintiff bathed nude in the river, got dressed, and ate breakfast
freshly cooked over the fire with his neighbors. Everyone was comfortable in this setting, and no
one seemed to feel that anything was wrong with such expressions in the middle of the woods.

It is not uncommon in Asheville for people to express their individuality through nudity.
Plaintiff attended numerous nude gatherings around Asheville. It is equally common in Asheville
for someone to choose to meditate in the woods. Plaintiff believes that only the lying words of a

serpent could cause shame to the point of accusing a man of acting “strange” because of his nudity:

Now the serpent was more subtil than any beast of the field which the Lord God
had made. And he said unto the woman, Yea, hath God said, Ye shall not eat of
every tree of the garden? And the woman said unto the serpent, We may eat of the
he of the trees of the garden: But of the fruit of the tree which is in the midst of

FETS: Reb ORT IE Bo canner Bo Mies OS Moe Bags YT OP 3s

And the serpent said unto the woman, Ye shall not surely die: For God doth know
that in the day ye eat thereof, then your eyes shall be opened, and ye shall be as
gods, knowing good and evil. And when the woman saw that the tree was good for
food, and that it was pleasant to the eyes, and a tree to be desired to make one wise,
she took of the fruit thereof, and did eat, and gave also unto her husband with her;
and he did eat. And the eyes of them both were opened, and they knew that they
were naked; and they sewed fig leaves together, and made themselves aprons, And
they heard the voice of the Lord God walking in the garden in the cool of the day:
and Adam and his wife hid themselves from the presence of the Lord God amongst
the trees of the garden. And the Lord God called unto Adam, and said unto him,
Where art thou? And he said, I heard thy voice in the garden, and I was afraid,
because I was naked; and I hid myself. And he said, Who told thee that thou wast
naked? Hast thou eaten of the tree, whereof I commanded thee that thou shouldest
not eat? 12 And the man said, The woman whom thou gavest to be with me, she
gave me of the tree, and I did eat. And the Lord God said unto the woman, What is
this that thou hast done? And the woman said, The serpent beguiled me, and I did
eat. Helios Biblios, Genesis 3:1-13.

In 2015, Plaintiff reverted back to the old-time religion of his ancestors, Islamism. It is
common for Citizens of the Moorish-American Society to frequently discuss the religion of Islam,
study the old law, and enforce laws in accordance with the United Nations Declaration on the
Rights of Indigenous Peoples. “Ail Members must preserve these Holy and Divine laws...” Divine

Constitution of the Asiatic Nation of North America, Article IV, cl. 1.

“With us all members must proclaim their nationality, and we are teaching our people their
nationality and Divine Creed that they may know that they are a part and a partial of this said
government, and know that they are not Negroes, Colored Folks, Black People, or Ethiopians,
because these names were given to slaves by slave holders in 1779 and lasted until 1865 during
the time of slavery... The Moorish Americans are the descendants of the ancient Moabites who
inhabited the North Western and South Western shores of Africa.” fd,, Article VI.

Plaintiff sincerely believes in the faith instilled in him by the Great-God Allah through his
messenger. Plaintiff does not view other people as being inferior to himself. Plaintiff loves all
mankind as himself because “[nJo man lives unto himself, for every living thing is bound by cords

to every other living thing.” Holy Koran of the Moorish Science Temple, p. 7, | 2.

The Holy Prophet said, “Every word that I speak is spirit, and you Moors had better heed.

(That is give it attention, obey).” Oral Statements of the Prophet, p. 2, [7. The Holy Prophet said,
“This food here, is just European poison.” /d., p. 32, { 178. Jesus also said, “Teach them that Allah

and man are one...” Holy Koran of the Moorish Science Temple, p. 6, J 18. “I and the Father are

one.” Helios Biblios, John 10:30. “Verily, verily, I say unto you, He that believeth on me, the
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works that I do shall he do also; and greater works than these shall he do; because I go unto my
Father.” Id., John 14:12,

As a Moorish-American Moslem, Plaintiff is aboriginal to the Americas. Plaintiff’s beliefs,
customs, actions, and traditions are not to be compared with that of the pale-skin nations of Europe,
black persons, because Plaintiff is not of the European caste system nor is he a black person.
Plaintiff is an upstanding member of his community, ordained minister, and former college
teacher. Plaintiff reserves all of his rights of the Asiatic Nation of the States of North America.

FACTS ABOUT PLAINTIFF’S NUDE SUNBATHING - Section D.
9,

On 9/18/2016, drove to Asheville for a short vacation. When he arrived, he checked into
his room at the Grand Bohemian Hotel: Manor House. On 9/20/2016, Plaintiff visited the Biltmore
Estate. He parked his car in their parking lot and walked onto their private grounds. Once he was
passed the gates, Plaintiff was captivated by the beauty of the land. Plaintiff walked along the
streams on the property in a state of gratitude for Allah’s many blessings. Plaintiff was thoroughly
enjoying the solitude and the deep sense of peace present in that moment. After a while, Plaintiff
lay on the ground by a flowing stream to take a nap in the Sun.

When Plaintiff awoke, it was still daylight. No other people were in sight. Plaintiff looked
around again just to make sure he was alone in that area. Feeling completely unencumbered at that
time, Plaintiff decided to enjoy an afternoon stroll in the woods. Plaintiff stood up, took off his
clothes, and placed them neatly folded by the stream. He also placed his car key under a large rock
near the stream fo ensure it would be there when he returned. He then walked away from the
stream, and into the heavily wooded private forest area of the estate, even further away from the
general public. At that time, Plaintiff was in a complete state of meditation in the timeless presence
of the Most High. Plaintiff had no cuts, bruises, or weapons on his person. Plaintiff was not making
any loud sounds or disturbing the peace. Plaintiff was not committing any violent acts. Plaintiff
was not dangerous to self or others. Plaintiff was simply enjoying an afternoon stroll in the woods.

10.

While in the private wooded area, Plaintiff was approached by two private security guards
and an Asheville police deputy. In response to their sudden appearance and perceived hostility,
Plaintiff immediately laid still on the ground, on his back, with his arms and legs spread in the
open position to lower his chances of being shot. (People streak public events all the time and
aren't committed to a mental institution for it, but for some reason, the guards and the Asheville

police felt uncomfortable seeing Plaintiff's nakedness.) The deputy quickly brought a white sheet
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and placed it over Plaintiffs private parts. While under the deputy’s detention, one of them asked

Plaintiff: Are you alright? Plaintiff responded using sign language. With a right handed “thumbs

up”, Plaintiff told them he was “alright”. The Asheville deputy acknowledged Plaintiff’s response.
il.

The guards were reasoning among themselves trying to figure out why Plaintiff wouldn’t
speak. The Ashevilie deputy police verbally reminded the guards that Plaintiff had responded with
a non-verbal “thumbs-up” to indicate he was free of injury and mental impairment. The guards
indicated to the Asheville deputy that they were aware of Plaintiff’s non-verbal responses.

12,

A few moments later, the Sheriff arrived on the scene and assumed custody of Plaintiff.
The Sheriff asked the others: Ya'll really want me to take him to jail? The Sheriff did not offer
Plaintiff an opportunity to get dressed or voluntarily leave. The Sheriff knew that if he arrested
Plaintiff for a crime, he would have to do paperwork. To avoid his duty, he had Plaintiff taken to
MHI instead, In bad faith, the Sheriff detained Plaintiff at MHI.

13.

Despite that there was no legitimate reason for the Sheriff to continue Plaintiff’s detention
at MHI, the Sheriff willfully and wantonly deviated from accepted law enforcement standards in
delegating his duty to MHI’s employees. The Sheriff knew that Plaintiff would be deprived of his
liberty as a result of his avoidance of standard procedures. The Sheriff did not inform Plaintiff that
is was not under arrest and has not committed a crime. The Sheriff did not inform Plaintiff that he
was being transported to receive treatment for his or own safety and that of others. The Sheriff
demonstrated a complete disregard for Plaintiff's rights and expressed no remorse for Plaintiff’s
resulting injuries.

14.

Prior to taking custody of Plaintiff, the Sheriff willfully failed to inform Plaintiff that he
was not under arrest and has not committed a crime. Once there, MHI’s employee, HD-1, drew
Plaintiff's blood for the Sheriff without consent and without a search warrant.' Shortly after,
Plaintiff walked to a nearby MHI computer, logged into his Facebook account, and posted on his

timeline: Choose ye this day who you shall serve.

' The Sheriff's comments about taking Plaintiff to jail implies that the Sheriff was called to the scene to arrest Plaintiff
for trespassing and/or indecent exposure. Plaintiff remained in the Sheriff's custody from the moment of arrest on
9/20/2016 until custody was transferred to MHI on 9/26/2016 at 5:38 PM. Plaintiff purchased a season pass to the

Biltmore ESS YMG EINIG SEB IRIE ro IGE EAT FTW 20/20 Page 14 of 35

FACTS ABOUT RB’S FALSE IVC PETITION - Section E.
15.

That night while Plaintiff was asleep, RB, by direction of the Sheriff, swore out a petition
to commence the procedure to have Plaintiff involuntarily committed to a mental institution. The
statements expressed in RB’s affidavit for IVC were demonstrably false. RB based her false
affidavit on Christian beliefs and bias. RB had no prior knowledge of Plaintiff, his habits, history,
cultures, values, friends, or family. Plaintiff did not receive a copy of her affidavit until Jan. 2019.

16.

Merely regurgitating the statute, RB filled out an IVC form petition and placed a “X” in
certain boxes to indicate that Plaintiff was mentally ili and dangerous to self an others, as defined
by N.C. Gen, Stat. § 122C-3(11). “Merely placing an "X" in the boxes... does not comply with the
statute” In re J.C.D., No. COA18-957, 12 (N.C. Ct. App. May. 21, 2019). The alleged facts upon
which her opinion was based were stated in the petition as follows: “Patient’s thought content
displays delusional thinking — “we are ail family in this universe. I am the god and you are my
people young sister”; 2) “laughing inappropriately”; and (3) “he is hypervigilant” (e.g. mental
alertness), RB’s petition contained nothing more than conclusory allegations based on her bias.

17.

RB’s conclusory allegations were false and contained no facts or evidence that Plaintiff
was dangerous to self and others. RB’s conclusory allegation that Plaintiff’s mental status was
“altered” was not based on any prior knowledge of Plaintiff’s alleged “unaltered” mental state. RB
falsely concluded that Plaintiff couldn’t contract for his safety by himself or with his family’s help.

18.

RB knew that Plaintiff's behavior did not fit the criteria for an involuntary commitment.
RB knew that if she filed the IVC petition with the State, Plaintiff would be deprived of his rights
and subjected to unnecessary medical and psychological treatments. Upon information and belief,
RB was reckless in concluding that Plaintiff's alleged religious expressions, laughter, mental
alertness due to regular meditation, and nudity were grounds for an IVC under color of law.

19,

RB’s IVC petition/affidavit against Plaintiff was made in bad faith. At all times, RB knew
she owed a duty to Plaintiff to compiy with accepted medical standards and required protocols.
But instead of doing so, RB intentionally disregarded her duties and sought the most restrictive
method of chilling Plaintiff’s religious expression, RB’s actions were done on behalf of the Sheriff,

but there was no genuine compelling or overriding governmental interest, North Carolina's stated
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policy, in fact, is to "favor a less restrictive mode of treatment than involuntary commitment

whenever appropriate.” Currie v. United States, Civ. No. C-85-0629-D, 1081 GM.D.N.C. 1986).

RB acted outside the scope of her duties in making unreasonable inquiry into Plaintiff’s religious
beliefs and then using his alleged religious responses as a basis for an involuntary commitment.
20.
The next day, after RB submitted her IVC petition (Plaintiff didn’t see her petition until
Jan, 2019), Plaintiff was moved to MHI’s secured holding area for patients who have not yet been

admitted into a 24-hour facility. At that time, no bed was available in MHI’s Copestone program.

FACTS ABOUT MHVS PREMISES NEGLIGENCE — Section F.
21.
Seven days later, he was admitted into MHI’s Copestone ward for violent IVC patients.
22.

The Copestone ward was a very unsafe environment where violent patients, substance
abusers, and mentally ill persons were held against their will. One patient said that his dad had
placed him MHI’s mental ward because he kept starting fires. Plaintiff felt that he needed to remain
on guard at ail times to prevent being attacked by one or more of MHI’s patients.

23.

On or about the 10" day of confinement, Plaintiff was unreasonably placed in “time-out”.
(“Time-out” is like “the hole” as used in state and federal penitentiaries. The room was locked
from the outside and Plaintiff was not allowed to freely roam the Copestone ward’s hallways while
in time-out.) While in time-out, Plaintiff was free-style rapping out loud and it apparently got on
HD-3’s nerves. HD-3 threatened Plaintiff that he must be quiet during the quiet hours, and if he
didn’t be quiet, he would be tranquilized. Plaintiff continued to rap out loud as an act of free will.

24.

In response, HD-3 and HD-4 rushed into Plaintiffs time-out cell with two police deputies.
To prevent any possibility of being shot or beaten, Plaintiff was already lying down on his floor
mat, on his back, with his hands and feet visible. Three of those employees held Plaintiff’s body
to the ground while HD-3 began to administer a heavy sedative into Plaintiff's bloodstream.
Plaintiff calmly informed them: { do not consent. I do not consent. [ do not consent. Plaintiff made

sure to make direct eye contact with the female deputy and other employees while saying that.

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25.

After they exited Plaintiff's solitary confinement cell, Plaintiff got up and returned to free-
styling at his cell window. Shortly after, the tranquilizer began to kick-in. As a result, Plaintiff
could no longer stand up. He fell asleep. The next morning, Plaintiff was released from the hole
and allowed to return to the patients’ common area. There, he saw JD, a patient in MHI’s custody.
Plaintiff recalls seeing JD around the first day Plaintiff arrived in the Copestone ward.

26,
Upon information and belief, at this point, Plaintiff had been in custody exceeding 10 days.
27.

While Plaintiff was sitting in the patients’ common area calmly having a calm conversation
with a couple of patients, JD stood up and violently punched Plaintiff in his left eye. Plaintiff
noticed that his eye was bleeding and his vision was blurry. However, Plaintiff did not hit JD;
neither before nor after JD hit Plaintiff.

28.

After watching Plaintiff get physically attacked by JD, HD-3 rushed over to Plaintiff and
informed Plaintiff that he saw the whole thing. However, HD-3 made no actions or attempts to
prevent the attack or provide adequate medical treatment for the injuries to Plaintiff's left eye and
face. Instead, HD-3 asked Plaintiff if he wanted to press charges against JD.

29.

At all relevant times, MHI and its employees knew, or should have known, of JD’s violent
propensities. JD was purposely held in the violent ward of MHI’s Copestone program. MHI and
its employees had the legal right, ability, and opportunity to control JD at the time of the attack,
but failed to protect Plaintiff from that foreseeable harm.

30.

Shortly after the attack, a police or sheriff deputy approached Plaintiff and informed him
that he could file charges against ID once he was released from the Copestone ward. However,
MHI never revealed JD’s name to Plaintiff so that he could press charges against him.

31.

Right after that, HD-3 informed Plaintiff that he was being moved out of the violent ward

of the Copestone facility and being taken to the ward where the non-violent patients were held.

Plaintiff was then escorted by a law enforcement deputy to the non-violent ward of Copestone.

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FACTS ABOUT MHI CONFINEMENT BEYOND THE ALLOWED TIME - Section G.
32.

Plaintiff's family submitted several requests to MHI demanding that Plaintiff be set free
from its MHI’s custody, Plaintiff's sister contacted MHI over the phone on more than one occasion
and demanded Plaintiff’s immediate release into her custody. Plaintiff’s brother also called and
faxed a letter to MHI demanding that Plaintiff be immediately released into the care of Plaintiff's
family. In response to each of those verbal and written requests, MHI refused to release Plaintiff
into his family’s less restrictive care. “A State cannot constitutionally confine...a nondangerous
individual who is capable of surviving safely in freedom by himself or with the help of willing and
responsible family members or friends.” O'Connor v. Donaldson, 422 U.S. 563 (1975).

33.
Around the 14™ day, HD-5, an older tall Caucasian MHI employee who wore purple or

blue scrubs, toid Plaintiff: If you keep talking like that, they’ll keep you here longer. Plaintiff
learned from that conversation with HD-S5 that he should refrain from further expressions of his 1“
Amendment rights if he hoped to be released from MHI’s custody.

34.

Plaintiff also discovered around that time that he must attend group sessions in order to be
released. Prior to learning these things from a series of inquiries to various MHI staff, Plaintiff had
no idea what was expected of him to be released from the Copestone program because MHI staff
neglected to explain the program to Plaintiff upon his admission into the Copestone ward.

35.

Plaintiff was held against his will for 16 days at MHI without a lawful continuance, without
a subsequent custody order, and without a commitment order. No subsequent custody orders were
sought or issued to prolong Plaintiff's confinement. No court commitment hearing was ever held
during that time pertaining to Plaintiff's confinement in MHI’s Copestone program. No lawful
continuances were granted giving MHI permission to hold Plaintiff beyond 10 days.

36.

During the 16 days of confinement on MHI’s premises, Plaintiff held numerous religious
conversations with the patients, nurses and doctors about the Bible, Torah, constitutional law, and
even Satanism (JD was a self-professed devil worshipper). Plaintiff remained cordial throughout
the experience. Even when another patient tried to provoke him, Plaintiff stayed calm. Plaintiff
was not in need of immediate hospitalization, and there was no real emergency. Plaintiff was not

in any danger whatsoever until he was seized by the BCS and taken to MHI against his will.
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37.

Prior to being detained by MHI, Plaintiff was in good health, both mentally and physically.
However, as a result of being detained for 16 days in MHI’s dangerous environment, Plaintiff’s
health declined. Plaintiff was released after the 16 day of imprisonment. After Plaintiff was
released from MHI’s custody, he immediately returned to the place to retrieve his car keys from
under the large rock by the flowing stream. Plaintiff went to the parking lot to retrieve car, but was
informed by the private guards that his car was towed to a nearby impound, Plaintiff retrieved his
car from the tow yard and then drove himself back to Augusta, Georgia.

Plaintiff suffered severe distress and bodily injury as a result of being held captive in MHI’s
Copestone ward. Plaintiff could not function the same after his detainment in MHI’s facility.
Plaintiff found the entire experience similar to The Experiment, a movie starring Forest Whitaker
and Adrien Brody. Plaintiff wrote the same in his exit interview with MHI’s admins. However,
MHI refused to provide Plaintiff with those records.

To this very day, Plaintiff still battles against fear of forced medications and unreasonable
seizures by governmental employees. It took Plaintiff about 2 years to recover and return back to
his normal level of functionality after his MHI induced injuries.

After Plaintiff recovered enough to face the impact of those events, Plaintiff requested his
medical records from MHI. Once Plaintiff had his medical records and court records in hand, he

began to make reasonable inquiries with various law firms to ascertain his available remedies.

FACTS ABOUT THE RELATIONSHIP BETWEEN MHI AND THE STATE - Section H.
38.

“{C]ustody continues with law enforcement until the respondent is, in cases recommending
commitment, transferred to a 24-hour facility.” McArdie v. Mission Hosp., Inc., 804 S.E.2d 214,
(2017). “The state's tactical referral of... medical care to private physicians should not deprive the
[patients] of the means to vindicate their Eighth Amendment rights.” Conner v. Donnelly, 42 F.3d
220 (4th Cir. 1994). The State of North Carolina provides funding to Missions Hospital, Inc. in

order for it to satisfy the state’s nondelegable duty to persons confined pursuant to state law:

NC Gen. Stat § 122C-2. Policy. The policy of the State is to assist individuals
with needs for mental health, developmental disabilities, and substance abuse
services in ways consistent with the dignity, rights, and responsibilities of all North
Carolina citizens. Within available resources it is the obligation of State and local
government to provide mental health, developmental disabilities, and substance

abuse services through a delivery system designed to meet the needs of clients in
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the least restrictive, therapeutically most appropriate setting available and to
maximize their quality of life. It is further the obligation of State and local
government to provide community-based services when such services are
appropriate, unopposed by the affected individuals, and can be reasonably
accommodated within available resources and taking into account the needs of
other persons for mental heaith, developmental disabilities, and substance abuse
services. State and local governments shall develop and maintain a unified system
of services centered in area authorities or county programs. The public service
system will strive to provide a continuum of services for clients while considering
the availability of services in the private sector. Within available resources, State
and local government shall ensure that the following core services are available: (1)
Screening, assessment, and referral. (2) Emergency services. (3) Service
coordination. (4) Consultation, prevention, and education, Within available
resources, the State shall provide funding to support services to targeted
populations, except that the State and counties shall provide matching funds for
entitlement program services as required by law. As used in this Chapter, the phrase
"within available resources" means State funds appropriated and non-State funds
and other resources appropriated, allocated or otherwise made available for mental
health, developmental disabilities, and substance abuse services. The furnishing of
services to implement the policy of this section requires the cooperation and
financial assistance of counties, the State, and the federal government.

39.

At all times relevant hereto, MHI’s employees were acting within the scope of their
employment with MHI as BC’s agents to financially benefit themselves while carrying out the
state’s policy under N.C. Gen. Stat. §122C-261. By virtue of the powers and privileges granted to
MHI and its employees as BC’s agents under the state’s mental health policy, MHI, RB, and
Hospital Does 1-10 unreasonably burdened Plaintiff’s religious expression under color of law.

40.

BC delegated that function to MHI’s employees when the Sheriff took Plaintiff to MHI to
have his blood drawn. BC deferred to MHI’s professional judgment, despite its recklessness. This
analysis is not altered by the fact that MHI and its employees were paid by contract, and were not
on the state payroll, nor by the fact MHI and its employees were not required to work exclusively
for the State of North Carolina. “Tt is the physician's function within the state system, not the
precise terms of his employment that is determinative.” West v. Atkins, 487 U.S, 42 (1988). The
Supreme Court held in that case that a private physician providing medical services to
incapacitated persons for the State acts under color of state law when treating those persons and is
subject fo liability under 42 U.S.C, § 1983. The Supreme Court held that a physician’s obligation

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to provide medical care does not set it at odds with the state. "Instead the physician cooperates
with the state and assumes the state’s constitutional obligation to provide medical care". Id.
41.

As a result of MHI and its employees’ willful cooperation and close relationship with
Buncombe County under North Carolina’s Mental Health, Developmental Disabilities, and
Substance Abuse Act of 1985, Plaintiff suffered significant injuries and was deprived of his rights
and immunities secured by the organic laws for the United States of North America.

42.

Whether or not MHI was acting as BC’s agent at all times affects not its duties owed to
Plaintiff. After MHI assumed full custody of Plaintiff on 9/26/2016, MHI still owed the following
duties to Plaintiff: (1) Keep him safe from harm while in its custody; (2) provide Plaintiff with
adequate and immediate medical treatment after he was physically injured by another patient; and
(3) release Plaintiff from MHI’s 24-hour facility as soon as a less restrictive method of treatment

became available (assuming, arguendo, that an IVC was the least restrictive method to begin with),

Vv. CLAIMS FOR RELIEF

COUNT I. 42 U.S.C. § 1983 - DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
IST AMENDMENT VIOLATION. - See Sections B, C, D, E facts.
43.

To successfully assert a claim under § 1983 Plaintiff must allege two essential elements:
(1) the violation of a right secured by the Constitution or Federal laws; and (2) the alleged
deprivation was committed by a person acting under color of state law. Plaintiff clearly meets both
criteria for bringing a § 1983 claim: (1) he endured a lengthy detainment as punishment for his
religious expression, despite being capable of surviving safely in freedom, which was protected
by the First Amendment and O'Connor v. Donaldson, and (2) the actors who deprived Plaintiff of
his liberty were county employees and MHI employees who were acting under county authority.

44,

Plaintiff's right to freely exercise his religion to the extent that it doesn’t cause harm to
himself or others is a clearly established right. “The Fourteenth Amendment, as now applied to the
States, protects the citizen against the State itself and all of its creatures...the Fourteenth
Amendment [is] an instrument for transmitting the principles of the First Amendment.” West

Virginia State Board of Education v. Barnette, 319 U.S. 624, 637, 639 (1943).

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45.

First, there is no doubt that Plaintiff’s adherence to Islamism and the teachings of Jesus,
Muhammed (pbuh), Buddha, Confucius, and Noble Drew Ali is grounded in sincerely held beliefs.
Second, Defendants’ actions substantially burdened his religious exercise as explained herein.
Third, each defendant lacks evidence, and they won’t be able to procure any evidence, that
Plaintiff’s adherence to his religion was not sincere. Even if Defendants seek to argue that
Plaintiff's religious practices were not substantially burdened because they genuinely believed
there to be a psychiatric emergency, there were no reasonable grounds for believing that was true.

46.

Even if the Defendants seek to argue that Plaintiff’s religious practices were not
substantially burdened because Plaintiff was naked in the woods of the Biltmore estate, the “State
cannot plausibly assert that unbending application of a criminal prohibition... [since it did not] in
fact, attempt to enforce that prohibition” Employment Division v. Smith, 494 U.S. 872 (1990).

47.

“The state may justify a limitation on religious liberty by showing that it is essential to

accomplish an overriding governmental interest” United States v. Lee, 455 U.S. 252 (1982). Here,

there was no compelling or overriding state interest at issue; no reasonable safety or health
concerns; no public disturbance; no threats of violence, suicide, or danger; and no emergency.
48.

A governmental entity is not permitted to involuntarily confine someone based on mere
speculation. To justify taking Plaintiff into custody, RB/BC/MHI would have to show that prior to
submitting the IVC petition, there was clear and cogent evidence that would have led a reasonable
person to believe that, if left alone or with his family, Plaintiff would have harmed himself or
others. Here, there was no evidence at all that Plaintiff was imminently dangerous to anybody. The
officers merely acted on some anonymous complaint that Plaintiff was seen naked in the woods.

49,

At all times relevant hereto, BC, RB, and MHI acted in concert to violate Plaintiff’s rights
secured by the Free Exercise Clause of the 1 Amendment in restricting Plaintiff’s freedom of
religious speech and punishing Plaintiff for expressing his desire to be nude in nature. The State
of North Carolina has a history of misusing “involuntary commitments to fill gaps in its fragmented

health system”’. https://www.ncha.org/20 1 8/06/nc-general-assembly-passes-major-update-to-mental-health-law/

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50.

Here, Plaintiff was just practicing his religion in nature. Plaintiff was not bothering a soul.
Plaintiff published his motto, “nature is my sanctuary”, on his social media accounts many years
ago and it remains the headline of his Instagram page to this very day. Much like members of the
Native American Church, Plaintiff appreciates Allah’s design in nature, and often worships there.
Just as it is unconstitutional to penalize a Native American for his use of ceremonial peyote, it is
also unconstitutional to penalize Plaintiff for his choice to commune with nature on a higher plane.

51.

At all times relevant hereto, Plaintiff simply desired to enjoy his vacation and be left alone
in peace. At the time of Plaintiff’s detainment, he was managing multiple rental properties in
Augusta, Georgia and prosecuting a civil suit. Plaintiff had only came to Asheville for a short 3-
day vacation. Plaintiff was scheduled to check out of his hotel room on or about 9/21/2016.

52.

At no time did Plaintiff act in such a manner as to evidence that, if left alone in nature or
in the care of his family and friends who lived nearby, he would be unable to satisfy his need for
nourishment, personal or medical care, shelter, safety and protection.

53.

To deny Plaintiff the benefit of freedom on the basis of his religious expression is to
penalize him for his religious expression. Here, RB, the Sheriff’s agent, specifically singled out
Plaintiff's alleged religious comments as grounds for commencing an involuntary commitment,

54.

Plaintiff is informed and believes that each defendant intentionally failed to respect, protect
and preserve Plaintiff's constitutional rights and that, at minimum, Defendants were deliberately
indifferent to the likely consequence that Plaintiff's rights and interests would be deprived
unlawfully, based on their repeated deviations from protocol and past circumstances of similar
constitutional and statutory violations of the law. Defendants denied Plaintiff his right to engage
in religious expression, including but not limited to religious discussion-—an activity that Plaintiff
and his friends have peacefully engaged in during previous years around Asheville.

The First Amendment, incorporated and made applicable to the states by the Fourteenth
Amendment to the United States Constitution, prohibits censorship of private religious expression.
Plaintiff desires to engage in the expressive activities described above on the basis of his sincerely

held religious beliefs. BC and MHI’s IVC policies and practices chilled, deterred, and restricted

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Plaintiff from freely expressing his religious views as it subjected him under a broad interpretation
of “normalcy” opined according to the religious views and cultural bias of MHI’s physicians.

RB’s choice to file an IVC petition against Plaintiff in furtherance of the State’s IVC policy
substantially burdened Plaintiff’s free exercise of religion by conditioning his right to speak and
associate according to his sincerely held beliefs and culture. Despite that there were no reasonable
grounds for commencing an IVC against Plaintiff, RB willfully and wantonly deviated from the
accepted medical standards of her profession in submitting a false affidavit for the Sheriff to
deprive Plaintiff of his liberty. RB knew that Plaintiff would be deprived of his liberty as a result
of her intentionally false petition. RB demonstrated a complete disregard for the consequences of
her actions and expressed no remorse for the harm she caused Plaintiff to endure.

BC and MHI’s policy and practice prohibited Plaintiff from engaging in expression based
on the religious content and viewpoint of the expression he desires to engage. Plaintiff’s religious
expression did not materially and substantially interfere with the order and safety of the public.
Plaintiff’s religious expression did not materially and substantially interfere with safety to self,

BC and MHI’s IVC policy and practice of granting unbridled discretion to private
physicians to censor Plaintiff’s religious expression while permitting Christians, Jews, Nudists,
Satanists, and Atheists to engage in unbridled expressions of their faith—also constitutes
viewpoint discrimination, which is unconstitutional in any type of forum. This unequal treatment
of Plaintiff based on the religious nature of his expression and individuality is a content-based
restriction in an otherwise open society for individualized expression.

55.

BC and MHI’s policies and practices (particularly RB’s IVC petition to have Plaintiff
committed on the basis of Plaintiff’s religion) interfered with and denied Plaintiff’s ability to
freely practice his religion in violation of the Free Exercise Clause of the First Amendment.

56.

As a direct and proximate consequence of the acts of BC and MHI’s agents and employees
in violation of the 1 Amendment to the U.S. Constitution and N.C. Constitution Article I, § 13,
Plaintiff suffered and continues to suffer actual and potential injury to his health and reputation

and is entitled to compensatory damages for ali injuries.

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47 AMENDMENT VIOLATION. — See Sections D & E facts.
57.

Plaintiff's right to be free of unreasonable searches and seizures is a clearly established
tight. At all times relevant hereto, Plaintiff was exercising his right to freely practice his religion
in the forested area of Biltmore’s private property. Plaintiff was not dangerous in any way. The
Court’s task is to assess whether the facts alleged, taken in the light most favorable to Plaintiff,
indicate that the Sheriff had probable cause to seize Plaintiff for a mental evaluation.

“Probable cause is a practical, nontechnical conception that addresses the the factual and
practical considerations of everyday life on which reasonable and prudent men, not legal
technicians, act... P]olice officers must have probable cause to believe that the individual posed a
danger to [him]self or others before involuntarily detaining the individual. If probable cause was
lacking, then Michael has successfully asserted the violation of a constitutional right —
specifically his Fourth Amendment right against unreasonable seizure.” Bailey v. Kennedy, 349

F.3d 731, 739 (2003) (internal quotation marks omitted),

“The overriding function of the Fourth Amendment is to protect personal privacy and
dignity against unwarranted intrusion by the State... [t]he security of one’s privacy against
arbitrary intrusion by the police as being at the core of the Fourth Amendment and basic to a free

society.” Schmerber y. California, 384 U.S. 757, 767 (1966) (internal quotation marks omitted).

“(T]he Fourth Amendment's prohibition is not limited to cases involving arrests...
the right to be free of a seizure made without probable cause does not depend upon
the character of the subsequent custody... and although the right may overlap
somewhat with the right to due process, governmental conduct amounting to
seizure of the person must be scrutinized under the more specific rules deriving
from the fourth amendment... [I]n the context of seizure of the mentally ill... such
a seizure is directly analogous to a criminal arrest and must therefore be supported
by probable cause... Put another way, no reasonable police officer could have
thought that taking [Plaintiff] against [his] will for a psychiatric evaluation was
more akin to a mere investigative Terry stop than to a complete seizure by arrest
for a state's custodial purposes... At issue, then, is whether plaintiff's behavior at
the time of the arrest was sufficient to justify a finding of probable cause for [his]
eventual commitment to the Unit... The gravity of the constitutional harm to a
person wrongly seized for mental illness lay behind the court's concern for requiring
proper procedural and substantive standards before such a seizure... Commitment
to an Evaluation Unit, even for a day, involves a loss of liberty, privacy, free
association and could well have the effect of creating a stigma against the person
confined; such a deprivation can create a stigma of mental illness which can be as
debilitating as that of criminal conviction.” Gooden v. Howard County Maryland,
917 F.2d 1355 (1990) (internal quotation marks and parentheses omitted).

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58.

At the time of the arrest, Plaintiff did not exhibit any known symptoms of a mental illness
or imminent dangerousness to seif or others. There was no reason or justification for the Sheriff to
have Plaintiff taken to the hospital for a criminal investigation or psychiatric evaluation.

59.

At the time of arrest, the Sheriff knew that Plaintiff was not in need of immediate
hospitalization. The Sheriff knew, or should have known, that Plaintiff was capable of surviving
safely in freedom by himself or with the help of willing and responsible family members or friends.
The Sheriff knew, or should have known, that Plaintiff was not in any genuine danger to himself
or others. The Sheriff knew, or should have known, that he was required to write and file a report.

60.

No reasonable person would have deduced from Plaintiff's nudity, silence, and affirmative
sign language that he was suffering from a mental illness. No reasonable person would have
deduced from Plaintiff's lack of weapons, bruises, and cuts that he was imminently dangerous to
himself and others. No reasonable person would have deduced that Piaintiff’s non-resistance to
the Sheriff’s detainment was a sign of public intoxication or indicative of a guilty mind following
a commitment of a crime. No reasonable person would have deduced that Plaintiff’s meditation in
the woods was anything more than the normal freedom-loving behavior of an Asheville hipster.

61.

Upon information and belief, the Asheville deputy and the Sheriff intentionally failed to
write an incident report about Plaintiff’s detainment on and transportation from the Biltmore estate
so as to foster ambiguity surrounding the Sheriff’s decision to detain Plaintiff under color of law.

62.

Upon information and belief, the Sheriff abused his authority in seizing Plaintiff's body
and having him transported to MHI without a warrant and without probable cause, in violation of
the 4 Amendment to the U.S. Constitution and N.C. Constitution Article I, § 19.

63.

Upon information and belief, the Sheriff abused his authority in having HD-1, seize
Plaintiff’s blood without a search warrant and without probable cause, in violation of the 4"
Amendment to the U.S. Constitution. Upon information and belief, because there was no legitimate
reason or probable cause to arrest and imprison Plaintiff, and because MHI exercised unlawful

control over Plaintiff for the Sheriff prior to the issuance of a custody order, BC is liable for the

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false arrest and resulting false imprisonment of Plaintiff. Plaintiff was held against his will and
over the objections of his family for a period of 16 days in violation of state and federal law.
64.
As a direct and proximate consequence of the acts of BC and MHI’s agents and employees
in violation of the 4 Amendment to the U.S. Constitution and N.C. Constitution Article I, § 19,
Plaintiff suffered and continues to suffer actual and potential injury to his health and reputation

and is entitled to compensatory damages for all injuries.

1474 AMENDMENT VIOLATION OF DUE PROCESS. - See Section G facts.
65.

Pursuant to N.C. Gen. Stat. § 122C-268(a) and (d), Plaintiff’s right to a district court
hearing within 10 days of the day he was taken into the Sheriff’s custody; his right to choose his
own counsel to represent him in the matter; and his right to be free from an unconstitutional
confinement are all clearly established rights. See O'Connor v. Donaldson 422 U.S. 563 (1975).

66.

Under state law, MHI owed Piaintiff the following duties, without limitation: (1) MHI’s
first commitment examiner, RB, was required to send a copy of her findings to the clerk of the
superior court by the most reliable and expeditious means (N.C. Gen. Stat. § 122C-263(e)); (2)
MHI’s attending physician, HD-6, was also required to send a copy of her findings to the clerk of
the superior court by the most reliable and expeditious means (N.C. Gen. Stat. § 122C-266(c));
and (3) after no hearing or continuance occurred by the 10 day, HD-6 was required to release
Plaintiff and notify the clerk of court by the most reliable and expeditious means (N.C. Gen. Stat.
§ 122C-266(d)). MHI’s employees neglected to carry out those required tasks. In failing to perform
those tasks, RB and HD-6 breached their duties owed to Plaintiff which caused Plaintiff to be held
at MHI for 16 days without a district court hearing in violation of due process.

67.

Under state law, BC owed Plaintiff the following duties, without limitation: (1) The clerk
or magistrate was required to make inquiry as to whether Plaintiff was indigent (N.C. Gen. Stat. §
122C-261(c)); (2) the Clerk of the Superior Court was required to calendar the matter for a hearing
in the district court within 10 days of the date Plaintiff was taken into the Sheriff’s custody (N.C.
Gen. Stat. § 122C-264(b)); (3) the clerk was required to notify Plaintiff of the time and place of
the hearing (N.C. Gen. Stat. § 122C-264(b)); and (4) after no continuance or hearing occurred by
the 10" day, the clerk was required to terminate the proceedings (N.C. Gen. Stat. § 122C-266(d)).

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The clerk and magistrate neglected to carry out those tasks. In failing to perform those tasks, BC

breached its duties owed to Plaintiff which caused him to be held for 16 days without a district

court hearing, without his choice of counsel, and without being informed of his right to counsel.
68.

“To identify the specific dictates of due process under the Due Process Clause, a court must
weigh three factors: First, the private interest that will be affected by the official action; second,
the risk of an erroneous deprivation of such interest through the procedures used, and the probable
value, if any, of additional or substitute safeguards; and finaily, the Government's interest,
including the function involved and the fiscal and administrative burdens that the additional or
substitute procedural requirement would entail. In the context of involuntary confinement of the
mentally ill, due process requires that, even if the “original confinement was founded upon a
constitutionally adequate basis ... [confinement cannot] constitutionally continue after that basis
no longer exist[s]... Beginning with the first Mathews factor, the Court finds that an individual's
interest in avoiding indefinite civil confinement...is substantial. An individual who is unilaterally
certified and indefinitely detained...is substantially deprived of his physical liberty... As to the
second Mathews factor, the Court finds that an erroneous deprivation of liberty under the Act is
likely, if not inevitable. For there to be no likelihood of error in certifying detainees, the
Government would have to contend that its certification process was error proof, an impossibility,
and, if it were error proof, there would be no purpose in judicial review.” United States v. Timms,
799 F, Supp. 2d 582, 593-94 (E.D.N.C. 2011) Ginternal quotations and citations omitted).

69.
Here, Defendant RB, acting as the Sheriff’s agent, unilaterally filed an affidavit certifying

that Plaintiff fit the criteria for an involuntary commitment (immediate hospitalization not
necessary). As a result of her petition (which was devoid of evidence), Plaintiff was held for 16
days in MHI’s Copestone ward, in violation of the 14' Amendment to the U.S. Constitution. No
timely continuance, subsequent custody order, or commitment order was ever issued by the Court.
70.

As a direct and proximate consequence of the acts of BC and MHI’s agents and employees
in violation of the 14°" Amendment to the U.S. Constitution and N.C. Constitution Article, §§ 21
and 36, Plaintiff suffered and continues to suffer actual and potential injury to his health and

reputation and is entitled to compensatory damages for all injuries to his person.

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COUNT Il. ASSAULT & BATTERY - See Section F facts
71.

At all relevant times, Plaintiff did not consent to any physical contact by the Defendants;
and Plaintiff was justifiably apprehensive that Defendants’ contact may cause him physical harm.
72.

Without justifiable reason or medical procedure for doing so, HD-3 and HD-4 deliberately,
and for the purpose of intentionally inflicting emotional distress upon Plaintiff, pinned his body to
the ground and forcefully administered a heavy sedative into Plaintiff’s veins while Plaintiff was
in time-out — already isolated from others. Plaintiff stated three times aloud: “I do not consent”.
Shortly after, the MHI’s heavy sedative took effect and Plaintiff loss consciousness. MHI’s
employees did not have any reasonable grounds or justification to forcefully medicate Plaintiff.

73.

After Plaintiff was confined in MHI’s custody exceeding 10 days, JD deliberately punched
Plaintiff in the face. As a result of JD’s attack on Plaintiff, Plaintiff’s eye bled profusely. Plaintiff
did not solicit, provoke, or desire such physical attacks from JD.

74,

Each defendant’s unwanted contact caused Plaintiff to suffer physical and emotional harm.
Defendants’ conduct constituted separate and distinct counts of assault and battery on Plaintiff.
Upon information and belief, the defendants acted together in a concerted effort to cause Plaintiff

harm, As a result of the assaults and batteries, Plaintiff suffered permanent damages.

COUNT II. GROSS NEGLIGENCE - See Section A through H facts
75.
Plaintiff incorporates by reference alli of the above as if fully restated in this paragraph.
76.
“An act or conduct rises to the level of gross negligence when the act is done purposely
and with knowledge that such act is a breach of duty to others” Boryla-Lett v. Psychiatric Solutions

of N.C., Inc., 685 S.E.2d 14, 19 (N.C. Ct. App. 2009). At all times relevant hereto, the Sheriff, RB,

and Hospital Does 1-10, knew, or should have known that they each owed Plaintiff a duty to adhere
to the required protocois for a non-emergency IVC. In breach of their duties and Plaintiff's rights,
each defendant intentionally disregarded the required protocols and caused Plaintiff harm. A

county can be sued directly under § 1983 pursuant to a governmental custom even if “such a

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custom has not received formal approval through the body's official decisionmaking channels.”

Carpenter v. Trammei, CIVIL CASE NO. 1:18-cv-00016-MR-WCM (W.D.N.C. May. 13, 2019).

77.
Upon information and belief, Pate injuries were caused by BC and MHI’s policy,

pattern, or custom of inadequately training its employeés on the required procedures of an IVC.
As Plaintiff will show with the evidence introduced through the framework of this complaint,
insha’ Allah, there are several prior instances wherein BC and MHI’s employees failed to adhere
to the required IVC protocols.

For example, on numerous occasions: (1) the Sheriff failed to write a report showing
probable cause existed to arrest a person and take him to MHI for a psychiatric evaluation; (2) the
Sheriff failed to make certain disclosures required by N.C. Gen. Stat. § 122C-251(c); (3) MHI’s
employees failed to comply with accepted medical standards and state law in their involuntary
treatments and examinations; (4) MHI’s commitment examiners failed to provide specific
information to their patients as required by N.C. Gen. Stat. § 122C-263(g); and (5) although BC
and MHI knew of these repeated deviations from required protocols, BC/MHI repeatedly refused
to take corrective action to prevent the foreseeable risk of harm posed thereby.

BC/MHP’s decision to perpetuate its custom of inadequate mental health employee training
is the primary factor, or moving force, that caused the violation of Plaintiff’s constitutional rights.
78.

Prior to the State’s issuance of a 7-day temporary custody order, HD-1 had a legal duty to
obtain Plaintiff's consent or a search warrant to draw his blood. HD-1 had a duty to inform Plaintiff
of sufficient facts to enable him to intelligently consent to any pre-custody order treatments. HD-
1 fatled to obtain Plaintiffs consent to treatment, or in the alternative knew, or should have known
that Plaintiff was not consenting and/or revoked his consent for treatment, including without
limitation, treatment for an alleged mental illness.

79.

At ail times, HD-1 knew, or should have known that she owed Plaintiff duty to adhere to
the required protocols for obtaining consent in a non-emergency situation. Despite knowing her
duty, HD-! intentionally disregarded her duty owed to Plaintiff and took his blood, over his verbal
objections. Plaintiff specifically told HD-1 that he did not consent to any blood draw prior to HD-
1 drawing his blood. HD-i’s failure to obtain consent or a warrant displays her willingness to

disregard Plaintiffs right to not have his life-blood taken in a non-emergency situation.

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80.

On 9/20/2016, sometime in between the moment Plaintiff was arrested and RB’s alleged
first examination, HD-2 secretly tranquilized Plaintiff without his consent. MHI’s heavy sedative
administered into Plaintiff's bloodstream which disoriented Plaintiff and caused him to lose
consciousness. HD-2 failed to obtain Plaintiff’s consent, or in the alternative knew, or should have
known, that Plaintiff was not consenting and/or revoked his consent for sedation, including without
limitation, sedation for failing to cooperate with labs or eat hospital food. HD-2 knew or should
have known that Plaintiff would not agree to such forced medication. HD-2’s willful sedation of
Plaintiff without reason or justification fails to comport with accepted medical standards.

81.

At ali times, HD-2 knew, or should have known that he owed Plainttff a duty to adhere to
the required protocols for forcefully medicating Plaintiff in a non-emergency situation. Despite
knowing his duty, HD-2 intentionally disregarded his duty owed to Plaintiff and sedated him
without his consent or knowledge. HD-2’s wantonly sedated Plaintiff because of his religious
expressions and for no other reason. HD-2 failed to comport with professional standards,

82.

After that, RB entered Plaintiff's room without his consent and allegedly conducted a first

examination while Plaintiff was still in bed. This occurred on 9/20/16 at or about 11:01 PM.
83.

At all times relevant, there was no emergency that existed which could have excused
Defendants’ lack of consent. HD-1 and HD-2 did not disciose to Plaintiff the risks of such
treatments and did not respect Plaintiffs aversion to needles or European pharmaceuticals entering
his body. MHI’s wantonly disregarded the material risk that such involuntary treatments, without
appropriate justification, may violate Plaintiffs religious beliefs. The Moorish American’s
position of not submitting to European medical treatments or consuming poisonous foods is
publicly known. “[T]he materiality test promotes the paramount purpose of the informed consent
doctrine — to vindicate the patient's right to determine what shall be done with his own body and
when... A material risk is one which a physician knows or ought to know would be significant to
a reasonable person in the patient's position in deciding whether or not to submit to a particular
medical treatment or procedure.” Lipscomb v. Memorial Hosp, 733 F.2d 332, 336 (4th Cir. 1984)

84,
As a result of RB, HD-1, and HD-2’s willful misconduct, Plaintiff suffered emotional

distress. Their wrongful acts were reckless which entitles Plaintiff to punitive damages.
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85.

At all times relevant hereto, RB’s supervisor, HD-7, knew, or had reason to know that RB
was an incompetent employee. HD-7 knew, or should have known that because of RB’s history of
providing inadequate medical treatment and failing to follow procedures, RB was likely to cause
injury to Plaintiff or others. HD-7 knew that RB was unfit to conduct commitment examinations
for the State of North Carolina. “North Carolina recognizes a cause of action for negligent
supervision and retention as an independent tort based on the employer's liability to third
parties.” Smith v. Privette, 128 N.C. App. 490, 494 (N.C. Ct. App. 1998),

86.

Prior to RB’s tortious act of allegedly examining Plaintiff for commitment without a

custody order and while he was sedated in bed, HD-7, knew or had to reason to know that RB was
an incompetent commitment examiner as she was unable to follow the required protocol of the
IVC Affidavit/Petition. HD-7 intentionally disregarded RB’s recklessness in basing her opinion of
the IVC petition/affidavit on conclusions and hearsay. HD-7 knew of RB’s incompetence, but
failed to properly train and supervise RB to work as a commitment examiner. HD-7 displayed a
complete lack of care in correcting RB’s inadequacies. HD-7 knew, or should have known that RB
had used such inadequate methods for commitment in the past. Despite knowing that RB posed a
risk of depriving patients of their constitutional rights, HD-7 continued to allow RB to continue
act as a commitment examiner. Due to HD-7’s inaction, RB was allowed to copy/paste her false
conclusions into the first examination form which misied the magistrate in issuing a custody order.
87.

At all times relevant hereto, there was a special relationship between MHI and JD. JD was
HD-8’s patient and HD-8 knew, or should have known of JD’s violent propensities. HD-8 and
other members of MHI’s staff had the ability and opportunity to control JD at the time of his
criminal acts against Plaintiff, but instead of doing so, they sat back and let JD attack Plaintiff. A
finding that a special relationship exists and imposes a duty to control is justified where “(1) the
defendant knows or should know of the third person's violent propensities and (2) the defendant
has the ability and opportunity to control the third person at the time of the third person's criminal
acts." McArdle v. Mission Hosp., Inc., 804 S.E.2d 214, 218 (N.C. Ct. App. 2017).

88.
While watching the events that led up to JD punching Plaintiff in the eye, HD-3 knew that

Plaintiff was at risk of harm but breached its duty to protect Plaintiff from the foreseeable harm

that JD imposed on Plaintiff by punching him in his eye. Further, after Plaintiff was seriously
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injured by that punch and in need of medical attention, MHI’s staff was deliberately indifferent to
Plaintiff's medical needs as they denied Plaintiff meaningful medical treatment for his injuries.
“In order to establish a claim of deliberate indifference to a medical need, the need must be both
apparent and serious, and the denial must be both deliberate and without legitimate penological
objective.” Brown v, Brunden, NO. 5:12-CT-3215-FL, 3 (E.D.N.C. May. 31, 2013).

89.

Plaintiff is informed and believes, and on that basis alleges that each employee of BC and

MHI who were involved in Plaintiff's involuntary treatment and confinement acted pursuant to
and within the scope of the relationships alleged above, that BC and MHI authorized, ratified,
adopted, conspired, approved, controlled, encouraged, and/or aided and abetted each employee’s

willful misconduct. BC/MHI is vicariously liable for injuries to Plaintiff’s reputation and person.

VL STANDARD OF LIABILITY

90.

The Sheriff, RB, and Hospital Does 1-10 knew, or should have known that they owed
Plaintiff a duty of care conforming to professional standards. Despite knowing this, they each
intentionally violated Plaintiffs rights by willfully deviating from required protocols which caused
Plaintiff harm. Defendants breached that duty of care owed to Plaintiff by deliberately performing
unnecessary treatments on Plaintiff and intentionaily failing to disclose to Plaintiff any and all
information that could have apprised him of the “next steps” of the IVC process. Had Plaintiff
been apprised of those facts throughout the proceeding, Plaintiff would have gained insight into
the situation alot sooner. As a result of their breaches of duty, Plaintiff suffered damages, including
but not limited to: physical harm, embarrassment, emotional distress, and mental pain and
suffering. Defendants’ conduct was malicious and/or in reckless disregard of Plaintiff, and Plaintiff
is entitled to general damages, special damages, exemplary damages, and treble damages.

91.

At the time of Plaintiff’s arrest, any “facility or any of its officials, staff, or employees, or
any physician or other individual who is responsible for the custody, examination, management,
supervision, treatment, or release of a client and {who fails to follow] accepted professional
judgment, practice, and standards is civilly liable, personally or otherwise, for actions arising from
these responsibilities or for actions of the client.” N.C. Gen. Stat. § 122C-210.1.

After Plaintiff filed by mail his original pleading, the statute was changed to any “facility,

person, or entity... an acute care hospital, a general hospital, an area authority, a law enforcement
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officer... or any of their officials, staff, or employees...who is responsible for the custody,
transportation, examination, admission, management, supervision, treatment, or release of a
respondent or client and who is... grossly negligent, is civilly or criminally liable, personally or
otherwise, for that person's or entity's actions or omissions arising from these responsibilities or
for the actions or omissions of a respondent or client. N.C. Gen, Stat. § 122C-210.1.

92.

Plaintiff was not negligent in any way and did not cause his own injuries.

VIE. CONCLUSION

At trial, Piaintiff intends to show to the enlightened conscience of an American jury that
Defendants, under color of law, directly and proximately caused Plaintiff’s false imprisonment/av res!
without probable cause ($250,000.00); bodily injuries from the assaults and batteries
($160,000.00); past and future medical expenses ($75,000.00), and other non-economic damages.
Plaintiff is also entitled to punitive damages in the amount of ($2,000,000.00).

*IMPORTANT NOTE*

On January 17, 2019, the attorney who was appointed to represent Plaintiff without his
consent, Timothy Henderson, also provided written notice to Defendants that Plaintiff could bring
subsequent litigation. “[W]hether a complaint will relate back...depends upon whether that new
defendant had notice of the claim... If some nexus among defendants will permit the trial judge to
infer that the new defendant had notice of the original claim so as not to be prejudiced by the
amendment, Rule 15(c) will allow a complaint to be amended so as to add a new party. Huggard
v. Wake County Hospital System, 102 N.C. App. 772, 776 (N.C. Ct. App. 1991). “Notice to and
knowledge of an authorized agent is imputed to the principal even [if] the agent does not inform
the principal thereof.” Passmore v. Woodard, 37 N.C. App. 535, 541 (1978).

The "law of the land” requires that the administration of justice be consistent with fundamental
principles of liberty and justice. State v. Tolley, 290 N.C. 3(¢9 1796)

MOORISH AMERICAN PRAYER
Allah the Father of the Universe, the Father of Love, Truth, Peace, Freedom and Justice. Allah is
my protector, my guide, and my salvation by night and by day, through
his Holy Prophet, DREW ALI “Amen”.

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WHEREFORE, Plaintiff moves this Court to reconsider its judgment under the principles

of equitable tolling. Plaintiff demands monetary compensation and moves this Court to enter
judgment in his favor and:

a. That summons issue for County of Buncombe and summons by publication be
permitted for Defendant John Doe requiring them both to appear in this Court within
the time prescribed by law and answer this Complaint;

That ail Defendants are jointly and severally liable;

For an order requiring the destruction of all records arising from this matter;

For general, special, punitive damage, and treble damages where applicabie;

For costs of this suit including fees under 42 USC 1988;

Trial by jury of twelve (12) true Americans;

For an order granting Plaintiff’s motion for reconsideration/equitable tolling; and
Any other relief this Court deems fair and just.

rR mo aor

Executed in good faith this } c day of February 2020 A.D.

Plaintiff's Signature ——
c/o TAQLEL AGABEY MANAGEMENT
30 N. Gould Street, Suite R
Sheridan, WY 82801
Ph: (678) 467-1049
teamwork3620@ gmail.com

VERIFICATION

STATE OF GEORGIA

COUNTY OF “i \ YOO

Personally appeared before the undersigned officer duly authorized by law to administer
oaths, Plaintiff Bro T, Hesed-E], who after being duly sworn under oath or affirmation, certifies,

declares, deposes and states that the foregoing is this Amended Complaint is true and correct to
the best of his knowledge belief.

io
Respectfully this | i day of febracr/ 2020,

LL fi —>

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Plaintiff's Signature
Sworn and subscribed before me this Way,
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